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                           Anchorage, AK 99501
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                           ATTORNEY FOR PLAINTIFF
                           Travis Buntin
                     6
                                             IN TIlE SUPERIOR COURT FOR THE STATE OF ALASKA
                     7
                                                  ‘flIIRD JUDICIAL DISTRICT AT ANChORAGE
                      V
                      C)




                     9     TRAViS BIJN1IN,

                     10                       Plaintiff.

                     ii              -vs

                     12    SCH I ,UM BERGER TECHNOLOGY
                           CORPORATION, and
                     13    AARON ROOGAERTS

                     14                        1)elèndants.
                                                                                   Case No. 3AN-16-               Cl
                     15
                                                                        COMPLAINT
                     16
                                     COMES NOW the Plaintiff Travis Bunlin through his attorney. Daniel Pace of the
                     I7
                           Pace Law Offices, and alleges the following as his complaint:
                     IS

                     Ic)                                    JURISDICTIONAl. ALLEGATIONS

                                      1.      ‘l’his is an action to recover overtime compensation under the Alaska Wage
                     20
                           and Hour Act        pursuant    to AS 23,10.110(a). (h). and (c) and AS 23.10.060.
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                           Bunlin n ch/nmhcrger i&chmIvg (‘orp. el a!., Case No. 3AN- I                         Page I of 4
                                                Exhibit B Page 1 of 4
                           Case 3:16-cv-00073-TMB Document 1-2 Filed 04/06/16 Page 1 of 4
               1           2.     At all times relevant herein, plaintiff was an employee of defendants and a

               2    resident of the Third Judicial District. State of Alaska.

               3           3.     At all times relevant herein, defendant Schlumberger Technology

               4    Corporation was a Texas corporation with an office located in Anchorage, AK and an

               5    employer of plaintilt

               6           4.     At all times relevant herein, defendant Aaron Boogaerts was a resident ofthe

               7    Third Judicial District, State of Alaska and was an employer of plaintiff

               8           5.     The Superior Court hasjurisdiction over this action pursuant to AS 22.10.020

               9    as plainti if is seeking a recovery ofmoney damages in excess of$ 100.000.00, exclusive of

              10    costs, interest, and attorney fees.

              Il           6.      Venue is proper in the third judicial district pursuant to AS 22.10.030 and

              12    Alaska Rule of Civil Procedure 3(c) as the arose and in Anchorage. Alaska.

              13                                   GENERAL ALLEGATIONS

              14           7.      l)efendants are in the business of supplying technology for oil and gas

              IS    development here in the State of Alaska.

              16           8.      Plaintiff and defendants entered into an employment contract at or around

              17    June 6. 2009 where defendants hired plaintiffas an Operator and eventually promoted him

              18    to SpecialisL in October2013.

              19           9.      A term of the employment contract required defendants to pay plaintiff

              20    severance pay in the event plaintiff’s employment was terminated.

              21            10.    Plaintiff worked in excess of 40 hours per week and 8 hours per day.
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   nr(mTlnas        I3unIin v. Schlwnberger Thchm’kszy Corp. el at, Case No.    3AN-1 6-            Page 2 of 4
                                                Exhibit B Page 2 of 4
                    Case 3:16-cv-00073-TMB Document 1-2 Filed 04/06/16 Page 2 of 4
                                       I I      Defendants did not pay plaintiff overtime wages tor any time worked in

                           2   excess of 40 hours per week or S hours per day.

                           3           12.      On Fehruar’ 15. 2016. defendants terminated plaintiffs employment.

                           4           13.      DeFendants breached the employment contract by failing to pay plaintiff

                           5   severance wages within three working days of termination.

                           6                                               COUNT I

                           7                                           Breach of Contract

                           8           1 4.     ‘[‘he previous paragraphs are incorporated herein.

                           9           15.      Plaintiff and defendants entered into a contract where defendants were to pay

                       10      plainti Fl’ severance pay upon termination ol’ the employment contract.

                       II               16.     [)efendants breached the contract when they terminated plaintilY and Failed

                       12      to pay plaintiff severance pay.

                       13               1 7,    Plaintiff has been harmed by defendants breach.

                       14                                                  COUNT 11

                       IS                                     Failure to l’ay Overtime, AS 23.10.060

                       16               1 8.    The previous paragraphs arc incorporated herein.

                       I7               19.      Plaintiff was an employee of de1ndants.

                       18              20.       Plaintiff worked over 8 hours in a day or 40 hours in a week.

                       19              21.       1)efendant failed to pay plaintiff overtime when it was due.

                       20              22        Plaintiff has been harmed by dcfcndants conduct.

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                                                       PRAYER FOR RELIEF

                2             WI IEREI:ORE. the plaintill requests that he he awarded the following relief:

                3             1      An award ui damages for past overtime wages.

                4             2      An award of damages for delèndants’ foilure to pay plaintiff severance wages

                5     within three working days ol termination.

                6             3.     An award of liquidated damages in an amount to he proven at trial.

                7             4.     An award of prejudgment interest, post judgment interest, costs and

                $     attorney’s Ibes incurred in bringing this action.

                9             5.     Any additional relief, including equitable relief, the Court deems appropriate

               10     under the circumstances.

               11

               12             DATED this 7th day of March. 2016. at Anchorage. Alaska.

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                                                                  PACE LAW OFFICES
               14                                                 Attorney for Plainti IT
                                                                  Travis Buntin                     -—




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               17                                                 Alaska Bar No. 1 305008

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